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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.:

 THOMAS SMITH,

        Plaintiff,

 v.

 BLUESTEM BRANDS, INC.,
 d/b/a Fingerhut,

       Defendant.
 ____________________________/

                                           COMPLAINT
                                          JURY DEMAND

       1.       Plaintiff, Thomas Smith, alleges violations of the Telephone Consumer

 Protection Act, 47 U.S.C §227, et seq. (“TCPA”) and the Florida Consumer Collection Practices

 Act, §559 et seq. (“FCCPA”).

                                  JURISDICTION AND VENUE

       2.       This Court has jurisdiction under 28 U.S.C. §§1331. Supplemental jurisdiction

 exists for the state law claim pursuant to 28 U.S.C. §1367.

       3.       Venue in this District is proper because Plaintiff resides here and Defendant

 placed telephone calls into this District.

                                              PARTIES

       4.       Plaintiff, Thomas Smith (hereinafter, “Plaintiff”), is a natural person, and citizen

 of the State of Florida, residing in Palm Beach County, Florida.

       5.       Plaintiff is the regular user and carrier of the cellular telephone number at issue,

 (561) *** - 6947, and was the “called party” and recipient of Defendant’s hereinafter described

 calls. See Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7th Cir. 2012), reh’g


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 denied (May 25, 2012); see also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir.

 2014).

       6.       Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

       7.       The debt that is the subject matter of this complaint is a “consumer debt” as

 defined by Florida Statute §559.55(6).

       8.       Defendant, BLUESTEM BRANDS, INC., d/b/a Fingerhut (hereinafter

 “Defendant”), is a Delaware corporation whose principle place of business is located at 6509

 Flying Cloud Drive, Eden Prairie, MN 55344.

       9.       Defendant’s registered agent for service of process is The Corporation Trust

 Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801.

       10.      Defendant is a “creditor” and/or “person” as defined by Florida Statute §559.55.

                   FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

       11.      Defendant attempted to collect and alleged debt arising from transactions

 primarily incurred for personal, family or household purposes from Plaintiff. Specifically,

 Defendant attempted to collect an alleged debt from Plaintiff concerning a Fingerhut account.

       12.      As described herein, Defendant intentionally harassed and abused Plaintiff on

 numerous occasions by calling Plaintiffs’ cellular telephone several times per day and on back-

 to-back days, with such frequency as can reasonably be expected to harass, in an effort to

 collect an alleged debt.

       13.      At all times relevant to this action, Plaintiff received between two to five calls

 per day to his cellular telephone from Defendant in an effort to collect the alleged debt at issue.




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       14.      Upon answering many of these calls, Plaintiff was greeted either by an

 automated machine-operated voice message or a noticeable period of “dead air” while the

 caller’s telephone system attempted to connect to a live telephone employee.

       15.      Defendant’s method of contacting Plaintiff is indicative of its ability to dial

 numbers without any human intervention, which the FCC has opined is the hallmark of an

 automatic telephone dialing system. See In the Matter of Rules & Regulations Implementing the

 Telephone Consumer Protection Act of 2008, 23 F.C.C.R. 559, 565-66 (2008); see also In the

 Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of 1991,

 18 F.C.C.R. 14014, 14091-92 (2003).

       16.      In or about 2015, Plaintiff informed that agent/representative of Defendant that

 they were calling his cellular phone and demanded that Defendant cease placing calls to his

 aforementioned cellular telephone number.

       17.      During the 2015 conversation with Defendant’s agent/representative, Plaintiff

 unequivocally revoked any express consent Defendant may have had for placement of telephone

 calls to Plaintiff’s cellular telephone number by the use of an automatic telephone dialing

 system or a pre-recorded or artificial voice.

       18.      Each and every subsequent call the Defendant made to the Plaintiff’s cellular

 telephone number was done so without the “express consent” of the Plaintiff.

       19.      Each and every subsequent call the Defendant made to the Plaintiff’s cellular

 telephone number was knowing and willful.

       20.      Additionally, in or about 2016, due to continued automated calls to his cellular

 telephone number from Defendant, Plaintiff again informed the agent/representative of




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 Defendant that he had previously told them not to call his cellular phone, and again demanded

 that Defendant cease placing calls to his cellular telephone number.

       21.       Despite actual knowledge of their wrongdoing, Defendant continued the

 campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent

 Defendant may have had to call his cellular telephone number.

       22.       Plaintiff’s damages were caused by and directly related to Defendant’s attempts

 to collect a debt by using an automatic telephone dialing system or predictive dialer to call

 Plaintiff’s cellular telephone.

       23.       From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

 his right of seclusion.

       24.       From each and every call without express consent placed by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone

 line and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers

 or outgoing calls while the phone was ringing from Defendant’s call.

       25.       From each and every call placed without express consent by Defendant to

 Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.

 Plaintiff had to waste his time dealing with missed call notifications and call logs that reflect the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

 which are designed to inform the user of important missed communications.

       26.       Each and every call placed without express consent by Defendant to Plaintiff’s

 cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

 were answered, Plaintiff had to go to the unnecessary trouble of answering them. For




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 unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected

 the unwanted calls.

       27.      Each and every call placed without express consent by Defendant to Plaintiff’s

 cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

 power.

       28.      Each and every call placed without express consent by Defendant to Plaintiff’s

 cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular phone and

 her cellular phone services.

       29.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

 Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

 embarrassment, distress and aggravation.

       30.      Defendant’s corporate policy is structured so as to continue to call individuals

 like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

       31.      Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

 number removed from Defendant’s call list.

       32.      Defendant has numerous complaints against it across the country asserting that

 its automatic telephone dialing system continues to call despite being requested to stop.

       33.      None of Defendant’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. §227(b)(1)(a).

       34.      Defendant willfully or knowingly violated the TCPA.

                              COUNT I
   VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

       35.      Plaintiff incorporates Paragraphs 1 through 34 herein.




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       36.      At all times relevant to this action, Defendant is subject to and must abide by the

 law of Florida, including §559.72, Florida Statutes.

       37.      Defendant engaged in an act or omission prohibited under §559.72(7), Florida

 Statutes, by willfully engaging in conduct, which can reasonably be expected to harass or abuse

 the Plaintiff. Specifically, Defendant called Plaintiff several times a day and on back-to-back

 days in an effort to collect a consumer debt.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

 against Defendant for:

                      a) Statutory Damages;

                      b) Actual Damages;

                      c) Punitive Damages;

                      d) Attorney’s fees, litigation expenses and costs of suit; and

                      e) Such other or further relief as the Court deems proper.

                                COUNT II
         VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

       38.      Plaintiff incorporates Paragraphs 1 through 34 herein.

       39.      Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

 each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

 Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

 and demanded for the calls to stop.

       40.      Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

 without Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

 227(b)(1)(A)(iii).


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      41.       Defendant violated the TCPA with respect to telephone calls made to Plaintiff’s

 cellular telephone with an automatic dialing system without consent.

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

    against Defendant for:

                      a) $500.00 dollars in statutory damages for each violation of the TCPA

                          over the last four years;

                      b) $1,500.00 dollars in statutory damages for each knowing or willful

                          violation of the TCPA over the last four years;

                      c) a declaration that Defendant’s calls violate the TCPA;

                      d) a permanent injunction prohibiting Defendant from placing non-

                          emergency calls to the cellular telephone of Plaintiff using an

                          automatic telephone dialing system or pre- recorded or artificial voice;

                      e) litigation expenses and costs of the instant lawsuit; and

                      f) such further relief as this Court may deem appropriate.

                                         JURY DEMAND
         Plaintiff demands trial by jury.

                                                      Respectfully submitted,

                                                      By:/s/ Christopher Legg
                                                      Christopher Legg, Esq.
                                                      Florida Bar No. 44460

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